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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                     ROCK HILL DIVISION



Paul Morphy,                                 )
                                             )          Civil Action No. 1:20-02788-JMC-SVH
                Plaintiff,                   )
                                             )
v.                                           )
                                             )
Willie Davis, individually and/or in his     )         ANSWER TO AMENDED COMPLAINT
official capacity as warden at Trenton       )              OF DEFENDANT LANE
Correctional Institution; Gary Lane,         )               (Jury Trial Requested)
individually and/or in his official capacity )
as warden at Kershaw Correctional            )
Institution; and John Does 1-9, individually )
and/or in their official capacities as       )
employees of the South Carolina              )
Department of Corrections; and the           )
South Carolina Department of Corrections, )
                                             )
                Defendants.                  )
___________________________________ )



          The Defendant Gary Lane answers the Plaintiff’s Amended Complaint herein as follows:

                                    FOR A FIRST DEFENSE

          1.     The Defendant Lane denies each and every allegation of the Plaintiff’s Amended

Complaint not hereinafter specifically admitted, qualified, or explained.

          2.     The allegations set forth in Paragraph 1 of the Plaintiff's Amended Complaint are

denied.

          3.     As to the allegations set forth in Paragraph 2 of the Plaintiff's Amended Complaint,

the Defendant Lane admits that the Defendant Willie Davis is currently an employee of SCDC and




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is a former warden at Trenton Correctional Institution. The remaining allegations set forth in

Paragraph 2 are denied as stated.

          4.    As to the allegations set forth in Paragraph 3 of the Plaintiff's Amended Complaint,

the Defendant Lane admits that he is a former employee of SCDC and is a former warden at

Kershaw Correctional Institution. The remaining allegations set forth in Paragraph 3 are denied as

stated.

          5.    The allegations set forth in Paragraph 4 of the Plaintiff's Amended Complaint are

denied.

          6.    As to the allegations set forth in Paragraph 5 of the Plaintiff's Amended Complaint,

the Defendant Lane admits that the South Carolina Department of Corrections is an agency of the

State of South Carolina and subject to suit under the South Carolina Tort Claims Act. Further

answering, the Defendant Lane denies that SCDC was previously identified as John Doe #10 in the

Complaint.

          7.    As to the allegations set forth in Paragraph 6 of the Plaintiff's Amended Complaint,

the Defendant Lane admits that the Plaintiff was an inmate assigned to Trenton Correctional

Institution from February 14, 2017 through May 11, 2017.

          8.    As to the allegations set forth in Paragraphs 7 through 16 of the Plaintiff's Amended

Complaint, the Defendant Lane lacks sufficient information to admits or denies those allegations

as alleged, and as a result, denies those allegations.

          9.    The allegations set forth in Paragraph 17 of the Plaintiff's Amended Complaint are

admitted.

          10.   The allegations set forth in Paragraph 18 of the Plaintiff's Amended Complaint are

denied as stated.




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        11.     The allegations set forth in Paragraphs 19, 20, and 21 of the Plaintiff's Amended

Complaint are denied

        12.     As to the allegations set forth in Paragraph 22 of the Plaintiff's Amended

Complaint, the Defendant Lane repeats and reiterates the corresponding responses of this

Answer as if fully repeated herein verbatim.

        13.     The allegations set forth in Paragraph 23 of the Plaintiff's Amended Complaint,

including all subparts, are denied.

        14.     The allegations set forth in Paragraphs 24, 25, and 26 of the Plaintiff's Amended

Complaint are denied.

        15.     As to the allegations set forth in Paragraph 27 of the Plaintiff's Amended

Complaint, the Defendant Lane repeats and reiterates the corresponding responses of this

Answer as if fully repeated herein verbatim.

        16.     The allegations set forth in Paragraphs 28 through 32 of the Plaintiff's Amended

Complaint are denied.

        17.     As to the allegations set forth in Paragraph 33 of the Plaintiff's Amended

Complaint, the Defendant Lane repeats and reiterates the corresponding responses of this

Answer as if fully repeated herein verbatim. The Defendant Lane objects to the jumbling of

causes of action.

        18.     The allegations set forth in Paragraphs 34 through 40 of the Plaintiff's Amended

Complaint are denied.

        19.     As to the allegations set forth in Paragraph 41 of the Plaintiff's Amended

Complaint, the Defendant Lane repeats and reiterates the corresponding responses of this




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Answer as if fully repeated herein verbatim. The Defendant Lane objects to the jumbling of

causes of action.

          20.   The allegations set forth in Paragraphs 42 through 48 of the Plaintiff's Amended

Complaint are denied.

          21.   As to the allegations set forth in Paragraph 49 of the Plaintiff's Amended

Complaint, the Defendant Lane repeats and reiterates the corresponding responses of this

Answer as if fully repeated herein verbatim. The Defendant Lane objects to the jumbling of

causes of action.

          22.   The allegations set forth in Paragraph 50 of the Plaintiff's Amended Complaint state

a legal conclusion to which no response is required.

          23.   The allegations set forth in Paragraph 51 of the Plaintiff's Amended Complaint,

including all subparts, are denied.

          24.   The allegations set forth in Paragraph 52 of the Plaintiff's Amended Complaint are

denied.

          25.   The Defendant Lane denies the allegations and relief sought as set forth in the

prayer of the Plaintiff's Amended Complaint.

                                      FOR A SECOND DEFENSE

          26.   The Amended Complaint, in whole or in part, fails to state a cause of action upon

which relief may be granted. The Defendant Lane reserves his right to file a motion pursuant to

Rule 12(b)(6), FRCP, and/or Rule 12(c), FRCP.

                                      FOR A THIRD DEFENSE

          27.   The Plaintiff’s claims are, in whole or in part, barred or limited by application of the

Prison Litigation Reform Act, including 42 U.S.C. § 1997e(e).




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                                  FOR A FOURTH DEFENSE

       28.      The Plaintiff has failed to properly and completely exhaust his administrative

remedies.

                                    FOR A FIFTH DEFENSE

       29.     The Plaintiff’s claims are, in whole or in part, barred by the applicable statutes of

limitations, including S.C. Code Ann. § 15-78-110.

                                    FOR A SIXTH DEFENSE

       30.      The Defendant Lane, in his official capacity, is entitled to Eleventh Amendment and

sovereign immunity.

                                  FOR A SEVENTH DEFENSE

       31.     The Defendant Lane pleads qualified immunity from suit under the holding of

Harlow v. Fitzgerald, 457 U.S. 800 (1982), as a complete bar to any liability.

                                  FOR AN EIGHTH DEFENSE

       32.     The Plaintiff has failed to join the parties necessary for just adjudication, and

therefore, this action should be dismissed pursuant to Rule 12(b)(7), Fed. R. Civ. P.

                                    FOR A NINTH DEFENSE

       33.     The Plaintiff has failed to mitigate his damages, thereby barring his recovery in

whole or in part.

       WHEREFORE, having fully answered the Plaintiff’s Amended Complaint, the Defendant

Gary Lane prays that the Amended Complaint be dismissed with prejudice, for the costs of this

action, and for such other and further relief as the Court deems just and proper.




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                                    LINDEMANN & DAVIS, P.A.


                                    BY:      s/ Andrew F. Lindemann
                                          ANDREW F. LINDEMANN            #5070
                                          5 Calendar Court, Suite 202
                                          Post Office Box 6923
                                          Columbia, South Carolina 29260
                                          (803) 881-8920
                                          Email: andrew@ldlawsc.com

                                    Counsel for Defendants Willie Davis, Gary Lane, and
                                    South Carolina Department of Corrections
January 27, 2021




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